Case 3:16-cv-00492-L-WVG Document 165 Filed 11/05/21 PageID.2623 Page 1 of 1




                       UNITED STATES COURT OF APPEALS                     FILED
                              FOR THE NINTH CIRCUIT                        NOV 5 2021
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
JOANNE FARRELL, on behalf of herself             No.   17-55847
and all others similarly situated,
                                                 D.C. No.
                   Plaintiff-Appellee,           3:16-cv-00492-L-WVG
                                                 Southern District of California,
  v.                                             San Diego

BANK OF AMERICA CORPORATION,                     ORDER
N.A.,

                   Defendant-Appellant.

       Pursuant to the stipulation of the parties (Docket Entry No. 31), this appeal

is voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

costs on appeal.

       A copy of this order shall serve as and for the mandate of this court.

                                              FOR THE COURT:

                                              By: Stephen M. Liacouras
                                              Chief Circuit Mediator
